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                         UNITED STATES COURT OF APPEALS                        FILED
                                FOR THE NINTH CIRCUIT                           MAR 9 2020
                                                                           MOLLY C. DWYER, CLERK
                                                                             U.S. COURT OF APPEALS
  MS. L.; MS. C.,                                    No.    18-56151

                     Petitioners-Appellees,          D.C. No.
                                                     3:18-cv-00428-DMS-MDD
   v.                                                Southern District of California,
                                                     San Diego
  U.S. IMMIGRATION AND CUSTOMS
  ENFORCEMENT; et al.,                               ORDER

                     Respondents-Appellants.

           Appellants’ unopposed motion (Docket Entry No. 27) for voluntary

  dismissal is granted. This appeal is dismissed. Fed. R. App. P. 42(b).

           This order served on the district court shall act as and for the mandate of this

  court.




                                                      FOR THE COURT:

                                                      MOLLY C. DWYER
                                                      CLERK OF COURT

                                                      By: Kara Slack
                                                      Deputy Clerk
                                                      Ninth Circuit Rule 27-7
